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                         Exhibit C
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(12)   United States Patent                                              (10) Patent No.:    US 11,608,915 B2
       Berardi                                                           (45) Date of Patent:    *Mar. 21, 2023

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(71)   Applicant: TELEBRANDS CORP., Fairfield, NJ
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(72)   Inventor:    Michael J. Berardi, Palm Beach
                    Gardens, FL (US)
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(73)   Assignee: Telebrands Corp., Fairfield, NJ (US)              CA                  2779882       8/2012
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(*)    Notice:      Subject to any disclaimer, the term of this                               (Continued)
                    patent is extended or adjusted under 35
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(22)   Filed:       Jan. 11, 2021
                                                                   Primary Examiner — Patrick F Brinson
(65)                  Prior Publication Data                       (74) Attorney, Agent, or Firm — McHale & Slavin, P.A.
       US 2021/0172546 Al           Jun. 10, 2021
                                                                      (57)                    ABSTRACT
                Related U.S. Application Data                      A hose which automatically expands longitudinally and
(60)   Continuation of application No. 16/222,313, filed on        automatically expands laterally upon the application of a
       Dec. 17, 2018, now Pat. No. 10,890,278, which is a          pressurized liquid is disclosed. The hose can automatically
                                                                   expand longitudinally up to six times its unexpanded or
                        (Continued)
                                                                   contracted length. Upon release of the pressurized liquid
(51)   Int. Cl.                                                    within the hose, the hose will automatically contract to a
       F16L 11/04             (2006.01)                            contracted condition. The hose includes an inner tube made
       F16L 33/01             (2006.01)                            from an elastic material and an outer tube made from a
                                                                   non-elastic material. The inner tube is positioned concentri-
                         (Continued)
                                                                   cally within the outer tube in both a contracted condition and
(52)   U.S. Cl.                                                    an expanded condition. The outer tube is secured to the inner
       CPC              F16L 11/04 (2013.01); F16L 11/00           tube only at a first end of the inner and outer tubes and at a
            (2013.01); F16L 11/12 (2013.01); F16L 33/01            second end of the inner and outer tubes. The outer tube
                                                (2013.01)          moves laterally and longitudinally with respect to the inner
(58)   Field of Classification Search                              tube when the tubes are transitioning between a contracted
       CPC       F16L 11/111; F16L 11/118; F16L 11/112;            condition and an expanded condition.
                                             F16L 11/115
                        (Continued)                                                  18 Claims, 3 Drawing Sheets




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Exhibit E 776 McDonald, Telebrand Contentions, Civil Action No.        Exhibit F, Tristar Contentions, Civil Action No. 2:13-CV-07099-
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                                        FIG. 5


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                                        FIG. 6



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                                    FIG. 7
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                                        FIG. 8
                                         27
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        EXPANDABLE AND CONTRACTIBLE                                 wrapped around a cylinder or drum for storage and transport,
               GARDEN HOSE                                          the length and width of the hose cannot be reduced. Another
                                                                    problem encountered with wrapped or coiled hoses is that
                           PRIORITY                                 they tend to kink when unwrapped or uncoiled. This prob-
                                                                  5 lem is usually encountered by the average homeowner when
   In accordance with 37 C.F.R. 1.76, a claim of priority is        using a garden hose to water their grass, plants, or wash their
including in an Application Data Sheet filed concurrently           vehicles.
herewith. Accordingly, the present invention claims priority           Firefighters have a solution to the kinking problem. The
as a continuation of U.S. patent application Ser. No. 16/222,       hoses that they use collapse into a relatively flat state when
313 entitled Expandable and Contractible Garden Hose" 10 the liquids are removed from the hoses. The hoses are then
filed Dec. 17, 2018 and issues on Jan. 12, 2021 as U.S. Pat.        stored in layers which are formed by the hose being laid
No. 10,890,278 which is a continuation of U.S. patent               back and forth upon itself. When the firefighters use the
application Ser. No. 15/794,662 entitled Expandable and             hoses stored like this, they only have to pull at one end of
Contractible Garden Hose", filed Oct. 26, 2017 and issued           the hose and it unfolds in a straight line without kinking.
on Jan. 8, 2019 as U.S. Pat. No. 10,174,870, which claims 15 This is not a practical solution to a homeowner's problem of
priority as a continuation of U.S. patent application Ser. No.      hose storage because gardens hoses are relatively small in
15/440,841 entitled "Garden Hose Device and Method" filed           diameter, compared to fire hoses, and almost all garden
Feb. 23, 2017 and issued on Dec. 12, 2017 as U.S. Pat. No.          hoses do not collapse into a flat condition when the water is
9,841,127, which claims priority as a divisional of U.S.            emptied from the hose.
patent application Ser. No. 15/055,095 entitled "Commercial 20         Another problem with hoses known in the art is that they
Hose" filed Feb. 26, 2016 and issued on Feb. 28, 2017 as            are heavy bulky and difficult to unravel when lying on the
U.S. Pat. No. 9,581,272 which claims priority as a continu-         ground and also difficult to handle and drag around to the
ation of U.S. patent application Ser. No. 14/301,825 entitled       place where the liquid is needed both when they are filled
"Commercial Hose" filed Jun. 11, 2014 and issued on Mar.            with a liquid and equally as difficult to handle and drag
8, 2016 as U.S. Pat. No. 9,279,525, which is a continuation 25 around when they are empty and needing to be returned to
of U.S. patent application Ser. No. 13/859,511, entitled            there original place of storage. Also, if the user does not have
"Commercial Hose", filed Apr. 9, 2013, and issued Jun. 24,          a device for winding the hose then he must try to place the
2014 as U.S. Pat. No. 8,757,213, which is a continuation-           hose on the ground in a way as to not entangle the hose
in-part of U.S. patent application Ser. No. 13/690,670,             within itself because if the hose does become entangled
entitled "Expandable Garden Hose", filed Nov. 30, 2012, 30 within itself this makes it difficult and frustrating to unravel
and issued on Jul. 9, 2013 at U.S. Pat. No. 8,479,776, which        the hose the next time the hose is used.
is a continuation-in-part of U.S. patent application Ser. No.          Therefore, what is needed in the art is a hose that can be
13/654,832, entitled "Expandable Hose Assembly Coupling             expanded and extended to a practical length during use, and
Member", filed Oct. 18, 2012, and now abandoned, which is           automatically returned to the reduced length when not in
a continuation-in-part of U.S. patent application Ser. No. 35 use. Also, a hose which is relatively light in weight and will
13/488,515, entitled "Expandable Hose Assembly", filed              not kink when taken from storage and filled with liquid for
Jun. 5, 2012, and issued Oct. 23, 2012 as U.S. Pat. No.             use.
8,291,942, which is a continuation-in-part of U.S. patent
application Ser. No. 13/289,447, entitled "Expandable and                       DESCRIPTION OF THE PRIOR ART
Contractible Hose", filed Nov. 4, 2011, and issued Oct. 23, 40
2012 as U.S. Pat. No. 8,291,941; the contents of the above             R. H. Vansickle et al., U.S. Pat. No. 3,481,368 discloses
referenced patents are incorporated herein by reference.            a flexible hose comprising an elastomer liner tube sur-
                                                                    rounded by a plurality of layers of metallic wire reinforce-
                FIELD OF THE INVENTION                              ment and an external cover, the inner reinforcing 15 layer
                                                                 45 comprising a single thickness of helically wound wires
   The present invention relates to a hose for carrying liquid      interlaced by textile yarns with the wires lying in a smooth
materials. In particular, a hose that automatically contracts to    cylindrical configuration and all interlacing crimp being in
a contracted state when there is no pressurized liquid within       the textile yarns. One or more additional reinforcing layers
the hose and expands to an extended state when a pressur-           of wire are wound helically without 20 interlacing textile
ized liquid is introduced into the hose. In the contracted state so yarns and with an insulating layer of elastomer between each
the hose is relatively easy to store and easy to handle             layer of reinforcement. A layer of braided wire may be
because of its relative short length and its relative light         provided over the other reinforcing layers and beneath the
weight and in the extended state the hose can be located to         cover.
where ever the liquid is required. The hose is comprised of            J. C. Hamrick, U.S. Pat. No. 3,520,725 discloses a
an elastic inner tube and a separate and distinct non-elastic 55 vacuum cleaning system in which a pliable but flexurally
outer tube positioned around the circumference of the inner         rigid vacuum hose normally stored within a suction conduit
tube and attached and connected to the inner tube only at           has little or no stretchability when the hose is being moved
both ends and is separated, unattached unbonded and uncon-          to extended or retracted stored condition in the conduit to
nected from the inner tube along the entire length of the hose      facilitate movement of the hose through bends in the con-
between the first end and the second end.                        60 duit, and wherein a piston on the hose 20 is deformable so
                                                                    as to be moved past an abutment carried by an outlet
          BACKGROUND OF THE INVENTION                               receptacle on the outer end of the conduit, and wherein
                                                                    interengagement between the piston and the abutment oth-
   Hoses which are used to carry various liquids are known          erwise limits extension or retraction of the hose, as the case
in the art. One of the problems encountered with these hoses 65 may be, relative to the conduit.
is storage of the hose when it is not being used to transport          Buhrmann et al., U.S. Pat. No. 3,682,202 discloses an
the liquids. While current hoses are flexible and can be            improved collapse-resistant, reinforced hose of flexible
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polymeric material including a semi-rigid generally circum-        temperature and/or vibrational environments such as turbo-
ferentially disposed supporting structure which includes           charged truck, bus, automobile, marine and generating
preferably a single layer of textile fabric reinforcement, the     engines. The composite hose comprises one or more plies of
major portion of which is composed of treated polyester or         balanced fabric having a high performance elastomer
nylon fibers. The polyester or nylon fibers are treated with an 5 adhered to the inner and outer surfaces of each fabric ply.
organic polyisocyanate and preferably a solution of at least          Mercer, U.S. Pat. No. 5,023,959 discloses a system for
2 percent organic polyisocyanate in a non-reactive solvent.        extending and retracting the waste hose for a waste disposal
The hose has substantially improved bursting strength and          system that is typically found on recreational vehicles and
resistance to vacuum collapse without the need of additional       includes power or crank-driven hose extender means for
support, such as a metal wire insert. The invention is io extending the collapsible hose from its collapsed mode
particularly useful for flexible radiator hoses used in auto-      stored on-board the recreational vehicle, to its extended
motive vehicle cooling systems.                                    configuration which it is used for dumping waste from an
   Sullivan, U.S. Pat. No. 4,009,734 discloses a flexible          RV holding tank into an inlet of an RV waste dump station.
self-retracting coiled tubing having desirable recoil strength        Whaley, U.S. Pat. No. 5,036,890 discloses a device which
and elastic memory is described. The coiled tubing is 15 may be inserted into the hydrant end of a conventional
adaptable especially as a self-retracting air tube for trans-      garden or water hose for the purpose of reinforcing that
mitting fluids under pressure to pneumatic equipment. The          portion of the hose which is apt to be kinked or broken due
coiled tubing comprises an extruded seamless plastic tube          to short bending of the hose at the hydrant end by tension
prepared by extruding a mixture comprising a chemically            imposed on the hose during use. The reinforcement device
extended polyester and from about 10% to about 50% of a 20 comprises a length of coiled resilient material having a
polybutylene terephthalate polymer.                                resilient gasket mounted on one end thereof which may be
   Logan, U.S. Pat. No. 4,091,063 discloses a molded hose          inserted or removed from a hose at will.
construction and method of making same is provided                    LoJacono, Jr. et al., U.S. Pat. No. 5,246,254 discloses an
wherein such hose construction has axially spaced convo-           anti-kinking device used in conjunction with a garden vari-
lutions and a controlled flexibility defined by alternating 25 ety water hose, wherein the device includes a housing
crests and troughs, and the hose construction has an elasto-       defined by a tubular body having a coupling member rotat-
meric inner layer, an elastomeric outer layer, and an inter-       ably mounted to the tubular body so as to be connected to a
mediate reinforcing layer made of a fabric material having         water faucet, wherein the opposite end of the tubular body
a substantial open space between cooperating threads defin-        is threaded so as to connect to a garden-type hose, and
ing the fabric material; and the layers are bonded as a unitary 30 further includes an elongated flexible nylon cable that is
structure by strike-through columns of elastomeric material        fixedly secured to a boss member formed in the internal wall
extending through said substantial space with the alternating      of the tubular body, whereby the cable is formed with a
crests and troughs having a controlled wall thickness              length so as to be readily positioned within the full length of
throughout which assures the controlled flexibility, and the       the hose.
crests and troughs having been formed with the elastomeric 35         Igarashi U.S. Pat. No. 5,264,262 discloses a refrigerant
layers in a semi-cured condition to assure said controlled         transporting hose having a laminar structure including an
wall thickness thereof.                                            inner tube consisting of at least one layer, an outer tube
   Home, U.S. Pat. No. 4,276,908 discloses a thermoplastic         disposed radially outwardly of and coaxially with the inner
hose is disclosed in which a reinforcement layer is made           tube, and a reinforcing fiber layer interposed between the
from a combination of yarns and monofilaments to provide 40 inner and outer tubes. The inner tube includes a resin layer
stereo interstices where mechanical bonds between the rein-        formed of a resin composition.
forcement and its adjacent element of the hose can be                 Mezzalira, U.S. Pat. No. 5,477,888 discloses a hose (10)
established.                                                       which comprises at least one tubular layer (3) of plastic or
   Piccoli et al., U.S. Pat. No. 4,553,568 discloses a flexible    rubber material, a mesh-network (4) of the chain type
hose adapted to regain its original shape after crushing due 45 presenting mesh lines (5) and mesh rows (6) having a tubular
to a novel braided-spiral reinforcement layer containing one       shape being wound on the external surface of said inner
braid member which is a relatively stiff, uncrimped mono-          layer, a possible external layer (7), and is characterized in
filament and a second braid member which is a flexible             that said mesh rows are slanted in relation to the longitudinal
textile material crimped around the stiff monofilament at          axis of the hose. According to a preferred embodiment the
each contact point in the braided spiral layer. The braided 50 lines (5) of said meshes are slanted in relation to the
spiral imparts improved crush and kink resistance to the           longitudinal axis Y of the hose, following a direction oppo-
hose structure. This hose is particularly useful as a gasoline     site to the direction of the mesh rows (6).
pump dispensing hose which is subject to frequent crushing            Kanao, U.S. Pat. No. 5,555,915 discloses a cleaner hose
by vehicle wheels during service.                                  includes a hose body, connection cylinders to be connected
   Champleboux, U.S. Pat. No. 4,895,185 discloses a device 55 to a cleaner operating pipe and a cleaner body, respectively,
with flexible hose, particularly for an expandable packer,         which are connected to ends of the hose body, respectively,
wherein hose is reinforced by armature layers made of              and a reinforcement wire material wound in the hose body
flexible cables disposed helically and is attached at least at     spirally and continuously over the whole length of hose
one end by compression of said layers against rigid pieces,        body. The reinforcement wire material is shaped like a
characterized by the supporting elements and gripping ele- 60 steeply slanted spiral in a predetermined length portion near
ments, which are coaxial, having non-adhesive conical com-         one of or both of the ends of the hose body so that adjacent
pression surfaces which diverge toward the end and by at           spiral portions of the reinforcement wire material are close
least one wedge provided with slits being driven between           to each other while a hose wall of the hose body is loosened
reinforcing layers to ensure compression.                          toward the inner circumferential surface. On the other hand,
   Walton et al., U.S. Pat. No. 4,989,643 discloses a high 65 the reinforcement wire material is shaped like a gently
performance composite hose having enhanced durability,             slanted spiral in an intermediate portion except the one of or
reliability and longevity for use in high pressure, high           both of the ends of the hose body so that adjacent spiral
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portions of the reinforcement wire material are separated          source of air pressure in a vehicle to an airbrake system of
from each other in the direction of a pipe axis.                   the vehicle. The assembly includes a flexible first and second
   Grieve et al., U.S. Pat. No. 5,607,107 discloses a retract-     tubing member, each having an outer surface and extending
able conduit formed from a sheet of memory-set polyester.          axially from a forward distal end to a rearward distal end.
To manufacture the memory-set strip, the polyester sheet is 5         Ericksen, U.S. Pat. No. 6,568,610 discloses a flexible
wound into a desired coiled position. It is then heated and        water spray wand for connection to a standard garden hose,
cooled in a manner to memory-set the sheet in a coiled form.       having a housing connectable at a lower end to the garden
After this process the sheet of polyester will automatically       hose and at an upper end to a flexible tube assembly
return to the coiled condition after it has been uncoiled. In      connected at an opposite end to a spray nozzle. The pistol
one form, suitable as a splash block, the distal end of the 10
                                                                   grip housing includes a water flow control valve such as a
polyester sheet is wider than the end attachable to a down-
                                                                   trigger mechanism operatively connected to a water valve
spout. In another form the polyester sheet is sheathed in an
                                                                   for controlling the flow of water from the nozzle of the
elongated polyethylene tube, to form a retractable hose. In a
preferred form, the distal end of the hose is supported on a       wand.
spool which will roll along the ground as the hose is wound 15        Ragner et al., U.S. Pat. No. 6,948,527 discloses a linearly
and unwound to further ensure that the hose retracts prop-         self-actuated  hose for use in transporting fluids (liquids,
erly. The tube can also be provided with holes to act as a         gases, solid particles, and combinations of these three).
sprinkler if desired.                                              Hoses (30) and (30b) have a biasing spring (36) extends
   Carter, U.S. Pat. No. 5,816,622 discloses a protective          along the full length, and can comprise single or multiple
sleeve for a garden hose includes a protective shell section 20 springs and/or multiple diameter spring coils. Spring (36) is
having a generally tubular body with an inner bore shaped          covered with hose cover material (32) on the outside and
for receiving a coupling of the garden hose snugly therein.        hose cover material (34) on the inside to form a sealed hose
A flexible strain relief section is releasably attached to the     and are bowed inward or outward radially between the
shell section wherein the flexible strain relief section has a     individual spring coils depending on the intended use of
generally tubular body. A locking member of the strain relief 25 hose (30) or (30b), respectfully to give the cover materials
section releasably attaches the strain relief section to the       room to move out of the way when the hose retracts and the
shell section. The locking member is receivable within an          coils of spring (36) are forced close together.
opening formed in the body of the shell section. The locking          Weyker, U.S. Pat. No. 6,955,189 discloses a garden hose
member is resiliently movable from a relaxed condition in          assembly includes an elongated and flexible tubular member
which it extends through the opening and engages the body 30 that includes an open first end, an open second end and a
of the shell section for preventing axial movement of the
                                                                   peripheral wall extending between the first and second open
strain relief section away from the shell section, to an
                                                                   ends. A cross-section taken traversely to a longitudinal axis
inwardly flexed position in which the locking member flexes
                                                                   of the tubular member has a generally oblong shape when
inwardly out of the opening and disengages the body of the
shell section for allowing relative axial movement between 35 the tubular member is filled with a fluid and a substantially
the shell and strain relief sections. The strain relief section    flattened shape when the tubular member is not filled with a
has an outer surface that defines a gripping surface for           fluid. The tubular member has an outer surface colored a
facilitating the attachment of the garden hose with another        fluorescent color. A threaded female coupler is fluidly
garden hose.                                                       coupled to the first end and a threaded male coupler is fluidly
   Horst et al., U.S. Pat. No. 5,894,866 discloses a garden 40 coupled to the second end.
hose assembly is provided and comprises holding means                 Ragner, U.S. Pat. No. 7,549,448 discloses a linearly
comprising at least a portion of such hose assembly with the       self-actuated hose for use in transporting fluids (liquids,
holding means and portion being adapted to be coiled               gases, solid particles, and combinations of these three). Hose
around an associated support for holding the portion at a          (30) has a biasing spring (36) that extends along its full
desired position to enable use of the hose assembly in a 45 length, and can comprise single or multiple springs and/or
hands-free manner.                                                 multiple diameter spring coils. Spring (36) is covered with
   Fujimoto, U.S. Pat. No. 6,024,132 discloses a flexible          hose cover material (32) on the outside and hose cover
hose comprises a bellows hose wall 1 composed of an inner          material (34) on the inside to form a sealed hose and are
wall 2 and an outer wall 3 each made of a soft resin and a         bowed inward or outward radially between the individual
spiral hard reinforcement 4 interposed there between. As the so spring coils depending on the intended use of hose (30) to
hose contracts, a spiral groove 7 is formed inside of the hose.    give the cover materials room to move out of the way when
The inner wall 2 is not partially bonded or fused with the         the hose retracts and the coils of spring (36) are forced close
outer wall 3 and the hard spiral reinforcement 4 to form           together.
unbonded sites or fragments 8. As the hose contracts, the             Ragner et al., U.S. Pat. No. 8,776,836 discloses a hose
unbonded fragments 8 are separated from the outer wall 3 55 (70) having a biasing spring (76) along the full length.
and the spiral hard enforcement 4 and move to the inward           Spring (76) is covered with the hose cover material (72) on
direction of the hose, and close the spiral groove 7. There-       the outside and hose support layer (74) and hose sealing
fore, even a fluid flows to any longitudinal direction, the        layer (72) on the inside to form a sealed hose. The invention
flexible hose reduces a flow resistance.                           comprises the improvement of the hose body (layers (72),
   Akedo et al., U.S. Pat. No. 6,024,134 discloses a lami- 60 (74), and (75)) by defining the layers as bowed inwardly
nated tape comprising a main layer of a polyester-series           radially between the individual spring coils to create a
thermoplastic polyurethane resin and a covering layer              helical indentation (74b) around hose (70). This helical
formed of a soft vinyl chloride resin fused with at least one      indentation (74b) causes the hose body materials (layers
surface of the main layer is spirally wound, and its adjacent      (72), (74), and (75)) move inward radially when hose (70) is
side edges are bonded each other to form a hose wall.           65 retracted and the coils of spring (76) are forced close
   Wells et al., U.S. Pat. No. 6,098,666 discloses a tubing        together longitudinally. Thus, layers (72), (74), and (75) are
assembly for conveying fluid under pressure such as from a         folded substantially with spring (76) when retracted, greatly
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reducing the volume of the hose (70) in its retracted position          FIG. 6 is a cross sectional view, perspective view of a
and substantially protecting (72), (74) and (75) from damage         section of the hose of the present invention taken along line
by abrasion and puncture.                                            2-2 in FIG. 1;
                                                                        FIG. 7 is a perspective view of a male coupler secured to
            SUMMARY OF THE INVENTION                             5   an end of the hose of the present invention when the hose is
                                                                     in its extended condition; and
   A hose which automatically expands longitudinally and                FIG. 8 is a perspective view of a female coupler secured
automatically expands laterally upon the application of a            to an end of the hose of the present invention when the hose
pressurized liquid within the hose is disclosed. The hose can        is in its contracted condition.
expand longitudinally up to six times its unexpanded or 10
contracted length and can expand laterally up to six times its                  DETAILED DESCRIPTION OF THE
unexpanded width. Upon release of the pressurized liquid                                      INVENTION
within the hose, the hose will automatically contract to a
                                                                       While the present invention is susceptible of embodiment
contracted condition. The hose includes an expandable inner
                                                                 15 in various forms, there is shown in the drawings and will
tube made from an elastic material and a separate, distinct
                                                                    hereinafter be described a presently preferred, albeit not
outer tube made from a non-elastic material, positioned             limiting, embodiment with the understanding that the pres-
around the outer circumference and length of the inner tube         ent disclosure is to be considered an exemplification of the
and secured to the inner tube only at the first and second end.     present invention and is not intended to limit the invention
The outer tube is unattached, unconnected, unbonded, and 20 to the specific embodiments illustrated.
unsecured to the inner tube along the entire length of the             FIGS. 1-8, which are now referenced, illustrate the pres-
inner tube, between the first end and the second end, so that       ent invention and the manner in which it is assembled. FIGS.
the outer tube can move freely with respect to the inner tube       1 and 3 illustrate a preferred embodiment of the expandable
along the entire length of the inner tube between the first end     and contractible hose of the present invention. The hose is
and the second end.                                              25 self-expanding upon application of a pressurized liquid and
   Accordingly, it is an objective of the present invention to      increased fluid volume within the hose. The hose is also
provide a hose that expands longitudinally and expands              self-contracting upon release of the pressurized liquid and
laterally upon the application of a pressurized liquid within       fluid volume from within the hose. The hose 10 is composed
the hose.                                                           of two separate and distinct tubes 12 and 14. The inner tube
   It is a further objective of the present invention to provide 30 14 is formed from a material that is elastic with an elonga-
a hose that automatically contracts upon release of a pres-         tion ratio of up to 6 to 1 and can expand up to 4 to 6 times
surized liquid within the hose. The contracted length being         its relaxed or unexpanded length when a pressurized liquid
up to six times shorter that an expanded length.                    is introduced into the elastic inner tube 14. A preferred
   It is yet another objective of the present invention to          material for the inner tube 14 is natural latex rubber.
provide a hose that is relatively light compared to a non- 35 However, other synthetic materials, which have elastic prop-
expanding/non-contracting hose.                                     erties similar to natural latex rubber, specifically, the ability
   It is a still further objective of the present invention to      to automatically retract from a stretched or expanded state,
provide a hose that will not kink or become entangled upon          can also be used. Upon application of pressurized liquid into
itself when in use.                                                 the inner tube, the elastic inner tube 14 expands radially
   It is a still further objective of the present invention to 40 outwardly or laterally, with respect to its length, within the
provide a hose including indicia, such as words, on an outer        outer tube. The radial expansion of the inner tube 14 is
tube or sleeve.                                                     constrained by the maximum diameter of the non-elastic
   It is a still further objective of the present invention to      outer tube 12. The outer tube 12 is formed from a non-
provide a hose that can be readily coupled and uncoupled to         elastic, relatively soft, bendable, tubular webbing material.
a source of water such as a faucet on a house.                   45 The preferred materials used to form the non-elastic outer
   Other objects and advantages of this invention will              tube 12 are braided or woven nylon, polyester, or polypro-
become apparent from the following description taken in             pylene. Other braided or woven materials can also be
conjunction with any accompanying drawings wherein are              employed to form the outer tube 12. The requirements of the
set forth, by way of illustration and example, certain              outer tube 12 material are that it be soft, bendable, non-
embodiments of this invention. Any drawings contained 50 elastic, and strong enough to withstand internal pressures of
herein constitute a part of this specification and include          up to 250 pounds per square inch, (psi).
exemplary embodiments of the present invention and illus-              The hose 10 includes a female coupler 18 at a first end
trate various objects and features thereof.                         thereof and a male coupler 16 at a second end thereof. The
                                                                    male coupler 16 includes a threaded portion 20, a mid-
          BRIEF DESCRIPTION OF THE FIGURES                       55 portion 22, and a portion 24 onto which are secured the inner
                                                                    tube 14, the outer tube 12, and an expansion restrictor sleeve
   FIG. 1 is a longitudinal side view of the present invention      26. The inner tube 14, the outer tube 12, and the expansion
in a contracted position;                                           restrictor sleeve 26 are secure to the male coupler as will be
   FIG. 2 is a cross section view of the present invention          described herein after.
taken along line 2-2 in FIG. 1;                                  60    The female coupler 18 includes a threaded portion 28 on
   FIG. 3 is a longitudinal view of the present invention in        the interior of the female coupler, FIGS. 1, 3, and 8. The
an expanded position;                                               threaded portion 28 is constructed to receive the male
   FIG. 4 is a cross sectional view of the present invention        threads 20 and enable coupling of one hose to another. The
taken along line 4-4 in FIG. 3;                                     threaded portion 28 is also constructed to couple to a faucet
   FIG. 5 is a cross sectional view, perspective view of a 65 or a water outlet on the exterior or interior of a house or
section of the hose of the present invention taken along line       residence. Most water faucets on homes or residences are
4-4 in FIG. 3;                                                      provided with a standard size male coupler or fitting. Most
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conventional garden hoses or other hoses are provided with          during operation. Thus, a ten-foot hose in a contracted
a standard size female coupler or fitting which will engage         condition would expand up to 40 to 60 feet when liquid
and couple the hose 10 to the faucet or water outlet. The           under pressure is supplied to the interior of the inner tube 14
inner tube 14, the outer tube 12, and the expansion restrictor      of the hose. The pressure within the hose is accomplished by
sleeve 27 are secure to the female coupler 18 as will be 5 introducing liquid under pressure into one end of the hose
described herein after. In the preferred embodiment the             and restricting the flow of the liquid out of the other end of
female coupler 18 also includes a washer 29 which helps to          the hose, resulting in the liquid filing up and expanding the
provide a fluid tight connection between the male and               inner tube 14.
female couplers or any other male or female coupler.                   For example, when the hose 10 of the present invention is
   During assembly, the non-elastic outer tube 12 is attached 10 utilized as a garden hose around a house, coupler 18 is
and connected to the inner tube 14 only at the first end and        secured to a faucet or water outlet on an exterior wall of the
second end by the male coupler 16 and the female coupler            house. The faucet is turned on or opened so that water under
18, The outer tube 12 is unattached, unconnected, unbonded,         pressure can now enter the hose 10. A relatively normal
and unsecured to the elastic inner tube 14 along the entire         pressure for water within a house is 60 psi. However, the
length of the inner tube 14, between the two couplers, and 15 pressure of water within a hose can vary widely, depending
thus the outer tube 12 is able to move freely with respect to       on a number of circumstances, such as, the pressure of water
the inner tube along the entire length of the inner tube 14,        supplied by a water utility, the pressure of water supplied by
between the couplers, when the hose expands or contracts.           a pump and sustained by an air bladder, when water is
   The hose 10 of the present invention is illustrated in its       supplied from a well, etc. A nozzle or other distributor can
contracted condition in FIGS. 1, 2, 6, and 8. In this condi- 20 be secured to male coupler 16 at the opposite end of hose.
tion, the elastic inner tube 14 is in a relaxed contracted          The nozzle can be a conventional nozzle which varies the
condition wherein there are no forces being applied to the          rate and spray pattern of water exiting from the nozzle.
inner tube 14 to expand or stretch it. Also, it should be noted     Many nozzles are L-shaped so as to be able to be comfort-
that the outer tube 12 will not be in contact with the inner        ably gripped and used by an individual. These nozzles also
tube 14 when the hose is in this contracted condition. There 25 have a pivoting on-off handle which operates an internal
will be a space 15 between the inner tube 14 and the outer          valve. This internal valve permits, limits, and stops the flow
tube 12 (FIG. 6). As illustrated in FIG. 6, the thickness of the    of water through the nozzle, to generate a build-up of liquid
wall of the inner tube 14, in the contracted position, is           within the hose body between the two couplers.
relatively large compared to the thickness of the inner tube           The nozzle provides various amounts of restriction to the
14, in the expanded position, FIG. 5. The expansion of the 30 liquid exiting at the end of the hose depending on how large
elastic inner tube 14 laterally, is the result of an increase in    the opening in the nozzle is. The smaller the opening in the
the pressure and volume of the liquid within the inner tube         nozzle, the more the nozzle restricts the release of liquid at
14. This increase in pressurized liquid and volume in the           the end of the hose, and the higher the pressure and volume
inner tube 14 also results in the expansion of the length of        of liquid inside the hose. The larger the opening in the
the elastic inner tube 14. The expansion of the inner tube 14, 35 nozzle, the less the nozzle restricts the release of liquid at the
both laterally and longitudinally, results in a decrease in the     end of the hose, and the lower the pressure and volume of
wall thickness of the inner tube, an increase in the diameter       liquid inside the hose. The pressure coming from a typical
of the inner tube thus increasing the volume of liquid that         house is approximately 60 psi. If the flow of liquid at the
can flow through the inner tube 14. This decrease in wall           other end of the present invention was totally restricted, the
thickness is clearly illustrated in FIG. 5, wherein the inside 40 psi inside the inner tube would be the same as the pressure
diameter of the inner tube has been expanded and extended           coming from the house, 60 psi. At this high pressure, the
because of an increase of the pressurized liquid and volume         inner tube 14 and the outer tube 12 in the present invention
within the inner tube 14.                                           would expand to its maximum length of fifty feet. As the
   The outer tube 12 is preferably constructed of a non-            liquid at the end of the hose is released, the pressure
elastic, soft tubular webbing. The webbing is made from a 45 becomes reduced inside the hose and the hose contracts
strong braided or woven nylon, polyester, or polypropylene          slightly based on the decrease in internal pressure, but the
fabric or any other tubular braided of woven, non-elastic           hose remains fully expanded in its operational state, distrib-
fabric which can withstand an internal pressure of up to 250        uting water through its sprayer. The present invention will
psi. In the expanded or extended condition of the hose 10 of        fully expand even when the pressure provided into the
the present invention, FIGS. 3-5, the inner tube 14 is so female end is below the typical pressure of 60 psi coming
expanded or stretched. In this expanded condition the non-          from a house.
elastic outer tube 12 constrains the lateral expansion of inner        In one example, the water pressure coming from the house
tube 14, as illustrated in FIGS. 3 and 5. The outer tube 12 is      was 60 psi and the water pressure at the nozzle on the other
also taunt, smooth, and relatively flat along its length in this    end of the hose was 35 psi, from the fluid dynamics of water
extended condition, note FIGS. 3 and 5. Since the outer tube 55 flowing through an open but partially restricted hose. Even
12 is non-elastic, the length and width of the outer tube 12        with this pressure drop along the length of the hose 10 from
determines the length and width of the hose 10 in its               60 psi to 35 psi, the pressure is enough to cause the inner
expanded condition. Thus, the diameter and length of the            tube 14 to expand laterally and longitudinally until its lateral
outer tube 12 determines the diameter and length of the hose        and longitudinal expansion became constrained by the non-
of the present invention upon the application of pressurized 60 elastic outer tube 12 and expanded to the maximum length
liquid to the interior of the elastic inner tube 14. This           and width of the non-elastic outer tube 12. In a preferred
diameter and length of the non-elastic outer tube is the final      embodiment, the hose 10 expands from ten feet in length in
diameter and the final length of the hose 10 when it is in its      its contracted condition to fifty feet in length in its expanded
expanded condition and in use to transport or deliver a             condition.
liquid, such as water.                                           65    FIGS. 7 and 8 illustrate how male and female couplers 16
   In a preferred embodiment of the present invention the           and 18 respectively are secured to the hose of a preferred
hose 10 expands up to 4 to 6 times its contracted length            embodiment of the present invention. In FIG. 7 the male
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coupler 16 includes a plurality of threads 20. The male             however, a conventional rubber 12/ inch ID 50-foot hose
coupler 16 also includes a tubular extension 32 which               could weigh up to 12 pounds. This savings in weight enables
extends into the interiors of the inner tube 14, the outer tube     the hose of the present invention to be easily carried, easily
12 and the expansion restrictor sleeve 26. The tubular              dragged, easily handled and easily used by anyone who uses
extension 32 has a hollow interior 34 through which fluids 5 the hose but especially by individuals who do not posses
can flow. A securing device 34 encompasses the outer sleeve         exceptional strength or do not want to drag, carry or lug
26, the outer tube 12, and the inner tube 14 and secures these      around heavy, bulky, conventional rubber hoses.
elements to the tubular extension 34. A separate flow restric-         Another feature of the present invention is that the outer
tor 37 is illustrated within coupler 16. Other types of flow        tube 12 is reduced or decreased in length when there is no
restrictors, such as hose nozzles, sprayers, etc. can also be 10 pressure within inner tube 14. With no pressure or volume
employed. Anything that controls the release of the liquid          in the elastic inner tube 14 the inner tube automatically
exiting the hose can be employed. As can be seen in FIG. 7,         contracts. The condition of the outer tube 12 when the inner
the outer tube 12 is relatively smooth, the inner tube wall is      tube 14 is in the contracted condition is illustrated in FIGS.
relatively thin, compared to its thicker contracted condition       1, 2 and 6. Because the outer tube is unconnected, unat-
and the expansion restrictor sleeve 26 is restricting the 15 tacked, unsecured, or unbonded to the inner tube along the
expansion of the inner and outer tubes at the junction of the       entire length of the hose between the first end and the second
securing device 34. Without the sleeve 26, the inner tube           end, the soft fabric material of the outer tube 12 can move
would immediately expand outwardly in a step function and           freely with respect to the inner tube. The fact that the outer
probably rupture. The sleeve 26 permits the inner tube 14 to        tube 12 can move freely with respect to the inner tube 14
gradually expand and taper outwardly, thus preventing rup- 20 along the entire length of the hose 10 enables the outer tube
turing of the inner tube at this junction. Other types of           12 to become folded, compressed and gathered around the
connections, such as clamping and swaging can also be               outside of the circumference of the inner tube 14 along its
employed to secure the male coupler to the inner tube 14, the       length in the contracted condition when there is not pres-
outer tube 12, and the sleeve 26. By using other types of           surized liquid within the inner tube 14. The flexibility of the
connections, an expansion restrictor sleeve may not be 25 outer tube 12 to become folded, compressed and gathered
needed.                                                             condition of the outer tube 12 helps prevent the hose 10 from
   FIG. 8 illustrates the female coupler 18 secured to the          kinking and also helps prevent it from becoming entangled
hose of the present invention. The hose in FIG. 8 is in the         upon itself. Thus, an empty hose 10 in the contracted
contracted condition. The female coupler 18 is provided             condition is easily stored without worry of the hose kinking
with a plurality of internal threads 28. The threads 28 are 30 or becoming entangled, as most conventional hoses do,
designed to interact and cooperate with complementary               because the elastic inner tube and the outer tube are very
threads 20 on a male coupler to provide a fluid tight               flexible. This tendency of the hose 10 to not become kinked
connection between the male and female couplers 16 and 18.          or entangled enables a user to store the hose 10 in a very
The female coupler 18 also includes a tubular extension 36          small space with no worry of having to untangle or unkink
which extends into the interiors of the inner tube 14, the 35 the hose when it is removed from storage and used. A user
outer tube 12 and the expansion restrictor sleeve 27. The           of the present invention can take hose 10 from a stored
tubular extension 36 has a hollow interior 38 through which         condition, secure a nozzle or other flow restrictor on one end
fluids can flow. A securing device 40 encompasses the outer         of the hose, secure the hose 10 to a water faucet and turn on
sleeve 27, the outer tube 12, and the inner tube 14 and             the water without the fear of the hose becoming entangled or
secures these elements to the tubular extension 36. As can be 40 kinked or without the need to untangle or unkink the hose.
seen in FIG. 8, the soft fabric outer tube 12 is not smooth,           After they are used conventional garden hoses are nor-
but folded, compressed and gathered around the circumfer-           mally carried or dragged back to their place of storage and
ence of the inner tube 14, the inner tube 14 wall is relatively     they are stored on a reel or coiled up upon themselves and
thick, compared to its extended condition and the sleeve 27         laid on a flat surface. This requires time to carry and drag the
is not restricting expansion of the inner and outer tubes at the 45 hose and to properly store the hose and also requires an
junction of the securing device 40. Without the sleeve 27, the      expense to purchase the hose reel. The hose 10 of the present
inner tube 14 would immediately expand outwardly in a step          invention automatically and quickly contracts to its original
function and probably rupture upon the application of pres-         place of storage and can then be easily folded up, rolled up,
surized liquid to the interior of hose 10. The sleeve 27            or coiled up and stored in any container, even very small
permits the inner tube 14 to gradually expand and taper so containers, or on any surface, thus saving time and expense
outwardly, thus preventing rupturing of the inner tube at this      for the owner of the hose.
junction. Other types of connections, such as clamping and             FIGS. 5 and 6 illustrate a preferred embodiment of the
swaging can also be employed to secure the female coupler           present invention. During the assembly of the hose in the
to the inner tube 14, the outer tube 12, and the sleeve 27. By      preferred embodiment a ten-foot elastic inner tube 14 in its
using other types of connections, an expansion restrictor 55 relaxed or contracted condition is inserted into the hollow
sleeve may not be needed.                                           interior of a 50-foot non-elastic outer tube 12. The ten-foot
   Another feature of the present invention is the savings in       inner tube 14 and the 50-foot outer tube 12 and the expan-
weight of the hose. The hose 10 in its contracted condition         sion restrictor sleeve 27 are then all attached and secured
is relatively light and after it is expanded up to 4 to 6 times,    together on a coupler at the first end. The ten-foot inner tube
the weight of the hose does not increase. Also, because the 60 is then stretched or expanded through the hollow interior of
hose does not contain any metal components such as springs,         the outer tube 12 until the elastic inner tube 14 is expanded
wire mesh or other metal parts along the entire length of the       to 5 times its relaxed or contracted length. At this point in the
hose between the male connector and the female connector            assembly process the expanded elastic inner tube 14 and the
a ten-foot contracted hose may only weigh less than 2               non-elastic outer tube 12 are both clamped down and the
pounds and in the expanded condition, (not counting the 65 inner tube 14 and the outer tube 12 are both 50 feet long. The
weight of the liquid inside the expanded hose) the fifty-foot       inner tube 14, and the outer tube 12 and the expansion
hose would also only weigh less than 2 pounds. In contrast          restrictor sleeve 27 are then attached and secured together to
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the coupler at the second end while the hose is still in the       as follows. The length of the hose is 10 feet, 3.33 yards, or
expanded condition. As previously stated, the elastic inner        3.05 meters. The volume of liquid within the hose 10 is
tube 14 and the non-elastic outer tube 12 are only attached        0.025 gallons, 3.2 ounces, 0.094 liters, or 94.635 cubic
and secured together at the first end and the second end. The      centimeters. The outer circumference of the hose 10 is 2
inner tube 14 and the outer tube 12 are unattached, 5 inches or 5.08 centimeters. The diameter of the outer tube 12
unbonded, unconnected and unsecured along the entire               is 0.4 inches or 1.02 centimeters. The inside diameter (ID)
length of the hose between the first end and the second end        of the inner tube 14 is, 0.25 inches or 0.635 centimeters. The
so as to allow the inner and outer tubes to move relative to       outside diameter (OD) of the inner tube 14 is 0.375. The
each other between the couplers. This allows the non-elastic       thickness of the wall of the inner tube 14 is 0.125 inches or
outer tube 12 to move freely with respect to the inner tube 10 0.317 centimeters. The thickness of the outer tube 12 is
14 along the entire length of the hose between the couplers        0.031 inches or 0.079 centimeters.
on the first end and the second end.                                  The outer tube 12 is relatively smooth in the expanded
   When the clamp is removed at the second end from the            condition, as seen in FIGS. 3 and 5. This smooth surface
expanded 50-foot elastic inner tube 14 and the 50 foot             enables the hose 10 to be used and manipulated with relative
non-elastic outer tube 12, the expanded elastic inner tube 14 15 ease. In addition, the expanded elastic inner tube 14 and the
automatically contracts within itself back to its original         smooth surface of the outer tube 12 prevents the hose from
relaxed length of ten feet. The length of the 50-foot non-         kinking. Also, the smooth surface enables indicia to be
elastic outer tube 12 is also reduced to only ten feet in the      placed on the outer surface. An example of this indicia is
contracted condition because when the stretched and                illustrated in FIG. 5, the words "Magic Hose". All types of
extended elastic inner tube 14 contracts from its expanded 20 indicia can be placed on the exterior of the outer tube 12,
length, the unattached, unbonded, unconnected and unse-            such as letters, numbers, patterns, designs, and/or pictures.
cured soft fabric non-elastic outer tube 12 is contracted by       Any type of indicia that can be affixed to the outer tube 12
the couplers pulling together, as this happens, the outer          can be used. The indicia can be any color also including
fabric also catches on the rubbery elastic inner tube 14           black or white. The material from which the outer tube 12 is
material causing the outer tube 12 to become folded, com- 25 formed can also be any color.
pressed and gathered relatively evenly around the outside             The preferred embodiment of the present invention uti-
circumference along the entire length of the contracted inner      lizes water to fill and expand the hose 10. However, other
tube 14, as opposed to bunching only at the far end of the         liquids can also be employed with the present invention, so
inner tube 14. Thus, because the 50-foot non-elastic outer         long as the liquids are not corrosive to the inner tube 14. The
tube 12 has many folds that are compressed and gathered 30 temperatures of the liquids employed in the present inven-
around the 10-foot contracted and relaxed inner tube 14, the       tion are lower than temperatures which will alter the physi-
folded, compressed and gathered 50-foot outer tube 12              cal and chemical properties of the materials used in the hose
measures the same 10-foot length as the 10-foot contracted         of the present invention. Also, because the inner tube 14 is
inner tube 12.                                                     elastic it can expand if the water within the tube freezes. For
   When a pressurized liquid is introduced into the elastic 35 example, if a garden hose of the present invention were left
inner tube 14 in the contracted and relaxed condition, the         outside in the winter, the water contained therein would
elastic inner tube 14 begins to expand laterally and longi-        freeze. Normal garden hoses would split, but the present
tudinally and the outer tube 12 begins to unfold and uncom-        invention would expand when the water turns to ice because
presses around the circumference of the elastic inner tube         the inner tube is elastic.
14. Consequently, when the inner tube 14 expands to its 40            All patents and publications mentioned in this specifica-
maximum length of 50 feet, the outer tube 12 unfolds, and          tion are indicative of the levels of those skilled in the art to
uncompresses along the entire length of the inner tube 14          which the invention pertains. All patents and publications
until it reaches the same 50-foot length as the inner tube 14      are herein incorporated by reference to the same extent as if
in the expanded condition. Also, because the inner tube 14         each individual publication was specifically and individually
expands both longitudinally and laterally and its expansion 45 indicated to be incorporated by reference.
is constrained by the non-elastic outer tube 12, the inner tube       It is to be understood that while a certain form of the
14 fills all the available space inside the non-elastic outer      invention is illustrated, it is not to be limited to the specific
tube 12 and thus the surface of the unfolded, uncompressed         form or arrangement herein described and shown. It will be
outer tube 12 becomes smooth in the expanded condition as          apparent to those skilled in the art that various changes may
depicted in FIG. 5.                                             so be made without departing from the scope of the invention
   The hose in FIG. 5 is shown in its expanded condition           and the invention is not to be considered limited to what is
after a liquid under pressure has been introduced into the         shown and described in the specification and any drawings/
hose and the pressure and volume of the liquid has increased       figures included herein.
inside the inner tube 14. The expanded length of the hose 10          One skilled in the art will readily appreciate that the
is now 50 feet, 600 inches, or 15.24 meters. The volume of 55 present invention is well adapted to carry out the objectives
fluid within the hose 10 is 0.943 gallons, 120 ounces, 3.569       and obtain the ends and advantages mentioned, as well as
liters, or 3180.64 cubic centimeters. The outer circumfer-         those inherent therein. The embodiments, methods, proce-
ence of the hose 10 is 2.12 inches or 5.39 centimeters. The        dures and techniques described herein are presently repre-
diameter of the outer tube 12 is 0.68 inches or 1.73 centi-        sentative of the preferred embodiments, are intended to be
meters. The diameter of the inner tube 14 is 0.64 inches or 60 exemplary and are not intended as limitations on the scope.
1.63 centimeters. The thickness of the wall of the inner tube      Changes therein and other uses will occur to those skilled in
14 is 0.031 inches or 0.079 centimeters. The thickness of the      the art which are encompassed within the spirit of the
outer tube 12 is 0.031 inches or 0.079 centimeters. The            invention and are defined by the scope of the appended
thickness of the outer tube 12 remains the same in both the        claims. Although the invention has been described in con-
expanded and contracted conditions. The material from 65 nection with specific preferred embodiments, it should be
which the inner tube 14 is formed can be any color. The hose       understood that the invention as claimed should not be
in FIG. 6 is in its contracted condition and its dimensions are    unduly limited to such specific embodiments. Indeed, vari-
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ous modifications of the described modes for carrying out            tube, and said flexible inner tube to said first coupler, and a
the invention which are obvious to those skilled in the art are      second securing device securing said second expansion
intended to be within the scope of the following claims.             restrictor sleeve, said flexible outer tube and said flexible
   What is claimed is:                                               inner tube to said second coupler.
   1. A garden hose comprising:                                    5    7. The garden hose of claim 1 including indicia on said
   a flexible outer tube having a first end and a second end,        flexible outer tube.
      said flexible outer tube having a substantially hollow            8. The garden hose of claim 7 wherein said indicia is
      interior, said flexible outer tube having a maximal            recognizable when said hose is in said expanded condition
      length;                                                        and said indicia is not recognizable when said hose is in said
   a flexible inner tube having a first end and a second end, 10
                                                                     contracted condition.
      said flexible inner tube having a substantially hollow
                                                                        9. The garden hose of claim 1 wherein said flow restrictor
      interior, said flexible inner tube having a relaxed length
                                                                     is integrally formed with said second coupler.
      when said flexible inner tube is not in an extended
      condition, said relaxed length of said flexible inner tube        10. The garden hose of claim 1 wherein said flow restric-
      being less than said maximal length of said flexible ts tor is a nozzle which is removeably secured to said hose.
      outer tube;                                                       11. The garden hose of claim 6 wherein said first and
   a first coupler secured to said first end of said flexible        second securing devices extend around an outer circumfer-
      inner tube and said flexible outer tube, said first coupler    ence of said hose.
      adapted to couple said hose to a conventional faucet              12. The garden hose of claim 1 wherein said hose is a
      thereby providing pressurized water;                        20 garden hose.
   a second coupler secured to said second end of said                  13. The garden hose of claim 1 wherein said flexible inner
      flexible inner tube and said flexible outer tube, said         tube and said flexible outer tube are made from flexible
      flexible inner tube unsecured to said flexible outer tube      materials which will not kink when said hose is in said
      between said first and second ends so that said flexible       contracted condition.
      outer tube can move freely over said flexible inner tube; 25      14. A method of transporting water through a garden hose
      and                                                            comprising:
   a flow restrictor adapted to couple to said second coupler,          forming an expanding hose, said expanding hose includ-
   whereby upon introduction of a flow of pressurized water                ing a flexible outer tube having a first end and a second
      through said first coupler into said flexible inner tube             end, said flexible outer tube having a substantially
      and operation of said flow restrictor to at least partially 30       hollow interior, said expanding hose including an elon-
      block said flow of pressurized water from exiting said
                                                                           gated, expandable, elastic inner tube having a first end
      flexible inner tube, said flexible inner tube fills with
                                                                           and a second end, said elastic inner tube being sub-
      pressurized water resulting in an increase in water
                                                                           stantially hollow, said elastic inner tube positioned
      pressure within said interior of said flexible inner tube,
      said increase in water pressure expands said inner tube 35           within  said substantially hollow interior of said flexible
      longitudinally along a length of said flexible inner tube            outer tube;
      and laterally across a width of said flexible inner tube          securing a first coupler to said first end of said elastic
      thereby expanding said hose to an expanded condition,                inner and said flexible outer tube;
      and whereby stopping said flow of pressurized water               securing a second coupler to said second end of said
      into said first coupler and releasing said pressurized 40            elastic inner tube and said flexible outer tubes, said
      water out of said second coupler results in said hose                elastic inner tube and said flexible outer tube being
      contracting to a contracted condition as a result of an              secured to each other only at said first and said second
      automatic contraction of said flexible inner tube.                   ends and unsecured to each other between said first and
   2. The garden hose of claim 1 wherein said flexible outer               said second ends;
tube is constructed from a material selected from the group 45          connecting said first coupler to a source of pressurized
consisting of nylon, polyester, or polypropylene.                          water;
   3. The garden hose of claim 1 wherein said flexible inner            connecting said second coupler to a water flow restrictor;
tube is constructed from an elastic material with an elonga-            introducing a flow of pressurized water into said expand-
tion ratio of up to six to one and which can expand up to six              ing hose through said first coupler;
times said relaxed length.                                        so    restricting said flow of pressurized water exiting the
   4. The garden hose of claim 1 including a first restrictor              expanding hose, resulting in an increase in water pres-
sleeve secured to said first end of said flexible inner tube and           sure within said expanding hose between said first and
said flexible outer tube, and a second restrictor sleeve                   second couplers causing said elastic inner tube to
secured to said second end of said flexible inner tube and                 expand longitudinally along a length of said elastic
said flexible outer tube,                                         55       inner tube and laterally across a width of said elastic
   whereby said first and second restrictor sleeves provide a              inner tube thereby increasing a length and width of said
      gradual transition of a laterally outward expansion of               hose to an expanded condition; and
      said flexible inner tube when there is an increase in             automatically contracting said expanding hose to a
      pressurized water within said interior of said flexible              decreased length and width by removing said flow of
      inner tube between said first coupler and said second 60             pressurized water into said expanding hose and remov-
      coupler.                                                             ing the increase in water pressure within said expand-
   5. The garden hose of claim 1 wherein said flexible inner               ing hose between said first coupler and said second
tube and said flexible outer tube are made from flexible                   coupler,
materials which will not kink or become entangled upon                  whereby said elastic inner tube moves freely with respect
themselves when said hose is in said expanded condition. 65                to said flexible outer tube when there is no difference in
   6. The garden hose of claim 4 including a first securing                water pressure between said first coupler and said
device securing said first restrictor sleeve, said flexible outer          second coupler.
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  15. The method of transporting water of claim 14 wherein
said elastic inner tube is elongated up to six times an
unexpanded length of said elastic inner tube.
  16. The method of transporting water of claim 14 includ-
ing securing a first expansion restrictor sleeve to said first 5
end of said elastic inner tube and said flexible outer tube;
   securing a second expansion restrictor sleeve to said
     second end of said elastic inner tube and said flexible
     outer tube;
   whereby when said increase in water pressure expands 10
     said inner tube, said first and second expansion restric-
     tor sleeves restrain an expansion of said elastic inner
     tube and said flexible outer tube and prevent said elastic
     inner tube from increasing in diameter according to a
     profile of a step function.                                15
  17. The method of transporting water of claim 14 includ-
ing providing indicia on said flexible outer tube and expand-
ing said flexible outer tube longitudinally along a length of
said flexible outer tube until said indicia is recognizable.
  18. The method of transporting water of claim 14 wherein 20
said flexible outer tube constrains a radial expansion and a
longitudinal expansion of said elastic inner tube upon an
increase of said water pressure between said first coupler
and said second coupler within said expanding hose.
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